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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:18-cv-02257

  ROBERT E. TAYLOR,

          Plaintiff,

  v.


  CONN APPLIANCES, INC. d/b/a
  CONN’S HOMEPLUS,

          Defendant.


                                            COMPLAINT


          NOW comes ROBERT E. TAYLOR (“Plaintiff”), by and through his attorneys, Sulaiman

  Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of CONN APPLIANCES, INC.

  d/b/a CONN’S HOMEPLUS (“Defendant”), as follows:

                                         NATURE OF THE ACTION

       1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

  Act (“TCPA”) under 47 U.S.C. §227 et seq. for Defendant's unlawful practices.

                                     JURISDICTION AND VENUE

       2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

  is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

  under the laws of the United States.




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     3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

  in the District of Colorado and a substantial portion of the events or omissions giving rise to the

  claims occurred within the District of Colorado.

                                                PARTIES

     4. Plaintiff is a natural “person” as defined by 47 U.S.C. §153(39), over eighteen years of age

  residing in Denver, Colorado, which lies within the District of Colorado.

     5. Defendant owns and operates a chain of retail home appliances stores. Defendant is a

  corporation organized under the laws of the state of Delaware with its principal place of business

  located at 3295 College Street, Beaumont, Texas.

     6. Defendant is a “person” as defined by 47 U.S.C. §153(39).

     7.   Defendant acted through its agents, employees, officers, members, directors, heirs,

  successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

  times relevant to the instant action.


                               FACTS SUPPORTING CAUSES OF ACTION

     8. In approximately July 2018, Plaintiff began receiving calls to his cellular phone, (720)

  XXX-2029, from Defendant.

     9. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

  operator of the cellular phone ending in 2029. Plaintiff is and always has been financially

  responsible for the cellular phone and its services.

     10. Defendant mainly called Plaintiff’s cellular phone using the phone number (303) 731-

  6193, but upon belief, it has used other numbers as well.



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      11. Upon information and belief, the above referenced phone number ending in 6193 is

  regularly utilized by Defendant during its debt collection activities.

      12. Upon answering calls from Defendant, Plaintiff experienced a noticeable pause, lasting

  several seconds in length, before a live representative began to speak.

      13. Upon speaking with Defendant, Plaintiff was informed that it was seeking to collect upon

  an outstanding debt said to be owed by Plaintiff’s mother.

      14. The subject debt arose after Plaintiff’s mother purchased a series of household goods from

  Defendant.

      15. Aside from making a couple payments to Defendant on behalf of his mother, Plaintiff has

  no connection with the subject debt.

      16. Plaintiff informed Defendant that the debt was his mother’s, that he was not responsible

  for the debt, and further demanded that Defendant stop contacting his cellular phone.

      17. Despite informing Defendant that it was calling the wrong person and demanding that it

  cease contacting him, Defendant continued to regularly call Plaintiff’s cellular phone up until the

  filing of the instant action.

      18. Defendant has called Plaintiff’s cellular phone multiple times during the same day, even

  after being notified that it was calling the wrong person and to stop calling.

      19. For example, on August 27, 2018, Defendant placed at least three calls to Plaintiff’s

  cellular phone.

      20. Plaintiff has received not less than 25 phone calls from Defendant seeking to collect upon

  a debt which he does not owe.




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     21. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding his rights,

  resulting in expenses.

     22. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

     23. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

  limited to, invasion of privacy, aggravation that accompanies collection telephone calls intended

  for an unknown person, emotional distress, increased risk of personal injury resulting from the

  distraction caused by the relentless calls, increased usage of his telephone services, loss of cellular

  phone capacity, diminished cellular phone functionality, decreased battery life on his cellular

  phone, and diminished space for data storage on his cellular phone.


            COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

     24.    Plaintiff repeats and realleges paragraphs 1 through 23 as though fully set forth herein.

     25.    The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

  cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

  TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

  store or produce telephone numbers to be called, using a random or sequential number generator;

  and to dial such numbers.”

     26.    Defendant used an ATDS in connection with its communications directed towards

  Plaintiff’s cellular phone. The noticeable pause, lasting several seconds in length, that Plaintiff

  experienced on answered calls from Defendant is instructive that an ATDS was being utilized to

  generate the phone calls. In addition, the nature and frequency of Defendant’s contacts points to

  the involvement of an ATDS.



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     27. Defendant violated the TCPA by placing at least 25 phone calls to Plaintiff’s cellular

  phone using an ATDS without his consent. Plaintiff has never had any business relationship with

  Defendant nor has he given it permission to call his cellular phone. Defendant was calling

  Plaintiff’s cellular phone attempting to collect upon a debt owed by his mother. As such, Plaintiff

  could not have given Defendant consent to contact him. Even if Defendant had a legitimate

  business reason for initially contacting Plaintiff, which it did not, he explicitly revoked any such

  consent by his demands that Defendant cease contact.

     28. The calls placed by Defendant to Plaintiff were regarding business transactions and not for

  emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

     29. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

  for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

  should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

  entitled to under 47 U.S.C. § 227(b)(3)(C). Defendant had ample reasons to be aware that it was

  calling the wrong party yet it continued its attempts to harass Plaintiff into making payment on a

  loan for which he had no underlying obligation.

     WHEREFORE, Plaintiff, ROBERT E. TAYLOR, respectfully requests that this Honorable

  Court enter judgment in his favor as follows:

     a. Declaring that the practices complained of herein are unlawful and violate the
        aforementioned statutes and regulations;

     b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
        to 47 U.S.C. §§ 227(b)(3)(B)&(C);

     c. Awarding Plaintiff costs and reasonable attorney fees;

     d. Enjoining Defendant from further contacting Plaintiff; and


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     e. Awarding any other relief as this Honorable Court deems just and appropriate.

  Plaintiff demands trial by jury.

  Dated: August 31, 2018                             Respectfully submitted,

  s/ Nathan C. Volheim                               s/Taxiarchis Hatzidimitriadis
  Nathan C. Volheim                                  Taxiarchis Hatzidimitriadis
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